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                   P I a i n t i ff' s

                  Exhibit "A"
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     1                              D. DIAZ
     2             A.       Yes.    He said yes, girlfriend,
     3      I'll get it for you.          You deserve a great
     4 birthday present for being a great woman,
     5 mother and friend.
     6             Q.       For being the greatest mom and
     7      friend, deserve just to be precise.                So the
     8 exchange continues and you are speaking
     9 about the present, correct?
    10              A.      Yes.
    11              Q.      And you wr i te to Mr. Ca tro you

    12 need at least 80 Gs?
    13              A.      Correct.
    14              Q.      What were you referring to?
    15              A.      A body make over.
    16              Q.       Plastic surgery?
     17             A.       Yes.
     18             Q.       So, you were asking Mr. Castro
     19 to give you $80,000 for your birthday so
     20 you could get plastic surgery?
     21              A.      This was a joke that we were
     22 saying--
     23                      MR. AGUIRRE: Answer yes o~ no.
     24              A.      No, it was a joke what we were
     25 saying. Mr. Castro said oh, wouldn't you

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    1                                 D. DIAZ

    2        like to do your stomach.            I said for me to

    3 do my stomach I need at least 80 Gs. This
    4 message was taken way out of context. It
    5 wasn't that I was asking him.
     6               Q.       So, if I were to go back and
     7 look at your messages wi th Mr. Castro from
     8 earlier, I would see other exchanges that
     9 would put this in context?
    10                A.      Actually there was a phone call
    11 pr ior to thi s and than the phone call
    12 continued onto the message.
    13                Q.       So, there is no, to the best of
    14 your recollection there is no prior text
    15 messages about the $80,000 plastic surgery?
    16                A.       Correct, it was a phone call
    1 7 that we were talking about and from then it
    18 led to that. As you see after that it
    19         ended.      There was nothing else there.             We

    20         were just joking back and forth.
     21                         (Con t inued on next page to
     22                   include jurat.)
     23
     24
     25

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   1 D. DIAZ
   2 and myself.
   3               Q.          And George Castro, I believe

   4 you testified no longer lived there?
   5                A.         Correct.
   6                Q.         When he moved out of the house

   7 at 109 Admiral Lane, where did he move?
    8               A.         To my knowledge, his mother's

       9 house, 1680 Monroe Avenue in the Bronx.
   10                Q.         And that is a di fferent addres s

   11 then, I think it was something like Seward
   12 Street that you gave earlier.
   13                A.         The mother left Seward and she

   14 moved over to Monroe.
    15               Q.         So, 1680 Monroe in the Bronx?

    16                  A.      Apartment 2.     It was on the

       1 7 second floor.
       18                Q.      Was that close to your house at

       1 9 1 9 0 Adm ira 1 Lan e ?

       20                A.      No.

       21                Q.      How far away was that if you

        22 were driving, to get from point A to point
        23 B?
        24                A.      About twenty minutes,
        25 twenty-five minutes.
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    1                                 D. DIAZ

    2                Q.      Did Mr. Castro spend the night

    3 at you rho use 0 n Nove mb e r 1 3 , 2 0 1 0 ?
    4                A.       Yes, he did.
    5                Q.       Why did he spend the night?

    6                A.       Because I was out sick and I
    7 was on heavy medication and I had no one to
    8 take care of the kids.
        9             Q.      Between the time that Mr.

   10 Castro moved out in August 2010 and the
    i 1 Nove mb e r 2 4 t h inc ide n t t hat we are her e to

    12 talk about today, were there any other
    1 3 n i g h t s be sid e s Nove mb e r 2 3 r d t hat he s pen t
    14 the night at your house on Admiral Lane?
    15                 A.      Mr. Castro would stay, since I

    16 work four to twelve, he would take care of
    17 the children in the afternoon. He picked
    18 them up from where he had to. It was after
    19 school.
        20 Ryan and Gabriella were at the
        21 baby-sitter or both of them and then he
        22 would take care of the kids in the
        23      afternoon until I got home.             If I got stuck

        24 on a job, a burglary and robbery, anything,
        25 Mr. Castro would stay and then he would

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   1
                                       D. DIAZ

   2                  Q.        Did Mr. Castro spend the night

   3 at you rho use 0 n Nove mb e r 1 3, 2 0 1 0 ?

   4                  A.        Yes, he did.
   5                   Q.       Why did he spend the night?

       6               A.       Because I was out sick and I

       7 was on heavy medication and I had no one to
       8 take care of the kids.
       9               Q.       Between the time that Mr.

   10 Castro moved out in August 2010 and the
   i 1 November 24th incident that we are here to
   12 talk about today, were there any other
   13 nights besides November 23rd that he spent
       14 the night at your house on Admiral Lane?
       15                  A.    Mr. Castro would stay, since I

       16 work four to twelve, he would take care of
       17 the children in the afternoon. He picked
       18 them up from where he had to. It was after
           19 school.
           20 Ryan and Gabriella were at the
           21 baby-sitter or both of them and then he
           22 would take care of the kids in the
           23 afternoon until I got home. If I got stuck
           24 on a job, a burglary and robbery, anything,
           25 Mr. Castro would stay and then he would

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     1                                 D. DIAZ
     2        surrounding him.         There may have been two,
     3 possibly three. Who it was I couldn't tell
     4 you.
     5                Q.      Out of the other officers that
     6 you saw at this point, did you come to
     7 learn any of their names later?
     8                A.      Yes.
     9                Q.      Which officers?
    10                A.      Investigator Reid which was
    11 Wigdor' s partner, he was there.
    12        Investigator Figeroa, the female.                She was

    13 trying to console me and she was actually
    14 playing with the kids because the kids were
    15 crying and they were upset.
    16 Inside the house were two other
     17        male officers, male bl ack.            I never learned
     18        their names.       They were all outside.            They
     19 were part of the outside.
     20                Q.      The male who was holding
     21 George, was that Investigator Reid?
     22                A.      I believe so.
     23                Q.      To the best of your
     24 recollection, what did Investigator Reid
     25 look like?
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  1
                                       D. DIAZ

  2 A. He is a male black. Medium
   3 com p lex ion. Ab 0 u t f i v e - e i g h t , f i v e - n i n e , a
   4 slim build.
   5                  Q.         What about Investigator

      6 Figeroa?
      7                A.        He was my complexion.
      8                Q.        How would you describe that

      9 though?
   10                  A.        She is light brown, black hair,

   11 she is about my height, five-five.
   12                   Q.        What about build?

      13                A.        Like a small to medium frame.

      14                Q.        You said when you went inside
      15 to get your I.D., did any other law
      16 enforcement personnel come with you besides
       1 7 Wigdor?
          18                A.     At first it was just Wigdor and

          19 myself.
          20                Q.     So, what happened after you and

          21 Wigdor got inside the house?
                                   I showed him my I. D .        I asked
          22                A.

          23 him what's going on. After showing him my
          24 I.D., I don't know if he called the DA
           25 after. He said something oh, shi t, we got

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   1 D. DIAZ
   2 a cop.
   3                  Q.         Who did he say that to?

   4                  A.         When he looked at my I. D. he
   5            got on the phone.          On the other line he was

                talking to Patricia O'Connor.             He said we
    6

    7 got to get a search warrant, we got a cop.
    8 But before that I asked him
       9what's going on. He tells me to calm down,
   10   relax. That George was involved in
   11 something that had to do with a large sum
   12 of money and that he knows that George
   13 didn't do it, but George had to know who
   14 did it.
    15                  Q.        Wigdor   told   you   that?
    16                  A.         Yes.
    17                     Q.      What happened    next?
       18                  A.      After that I went hysterical in
       19        my   house.       Investigator Figeroa, she was
       20 trying to console me and calm me down.
        21 Then he got on the phone and said oh, we
                  got to get a search warrant.              That is when
        22
        23 he called Patricia O'Connor.
           24               Q.      How do you know that he was

           25 speaking to Patricia 0' Connor?

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                                    D. DIAZ
 1
                                               How it was
 2                   A.     It was mentioned.
                                           I can't pinpoint
  3             mentioned, I don't know.

  4 it right now. But I don't know if he said
     5 her name or if he mentioned it to me
     6 because I told him if you want to search my
                                                1'm not hiding
      7         house you can search it.
      8 anything.
      9
                               I don't know what is going on.

  10 But if it is in reference to George, I give
     11 you permission to go and search Gabriella's
     12 room because that is where George stood at.
                          Q.   Where George did what?
      13
      14                  A.   Where George sleep at was
                                        I gave him permission.
      15          Gabriella's room.
                                                              No, no,
          16      He was like no, I need a warrant.

          1 7 he gave me Patricia 0' Connor 1 s name or if
          18 my lawyer told me, but at that moment, yes,
          19 I knew that he was talking to her because I
          20 had to pass the information over to Mr.
           21 Quinn who was my attorney and I was on the
           22 phone wi th him.
           23 The minute I found out that
           24 they wanted to get a warrant I called the
           25       borough.    I used to work at a Patrol


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   1 D. DIAZ
   2 duty captain and Investigator Flores were
   3 holding their own conversation in the
   4 kitchen and then they went into the dining
   5 room and while sitting on the steps in the
   6 landing, opposi te the ki tchen and the
   7 dining room, it is opened, Investigator
    8 Flore s stands and he goe s "ha, you we re
    9 associating where a known felon."
   10                     I said, "what the fuck do you

   11 mean I was associating with a known felon.
                                                              I
   12        What is it that you are telling me.
   13 don't know George Castro to be a known
   14 felon." I'm not saying that he is a
    15 perfect person.
    16             Q.      Just to be clear, ls that what

    17 you said in response to Investigator
    18 Flores?
    19             A.       "What the fuck do you mean that

    20 he's a known felon", that was my response
    21 to him.
    22              Q.      And what happened next?
    23              A.      Investigator Flores didn't give

        24    me any rebut tal.      He didn't say anything.

        25    He just looked at me.          I wanted to know


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                                       D. DI~,Z
  1

   2 slip. I know that the department keeps
   3 them.
   4                   Q.        Just take a minute to look at

   5 that.
      6                A.        Whatever I put in, I would have

      7 to see the overtime slip. There could have
      8         been an error on their behalf because they
       9        gave me the money and then they took it
   10           out.
   11                   Q.        Right, if you read on the first

   12           line
   13                   A.        I couldn't. The only thing I

      14 can recollect like would be the actual slip
      15 that I filled out. What payroll does and
       16 how they put it into the system and payroll
                                                                So, I
       17        in the 24th was not a good system.
          18 cannot account for that. But they should
          19 have the actual slip that I have.
          20                Q.     I'm having trouble finding that

           21 actually.
           22               A.     I can only testify to the

           23 actual slip. How they put it in, if they
           24 made an error, they were forever making
                                                        So, I can't
           25     errors with everyone there.

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